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 1          LAW OFFICES OF
     CHRISTOPHER H. WING
 2   A PROFESSIONAL CORPORATION
          1101 E STREET
 3    SACRAMENTO, CA 95814
                     441-4888
                State Bar #063214
 4

 5   ATTORNEYS FOR:           Defendant
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 7

 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                  FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA                           No. CR. 06-0356 FCD
                                                    )
12                                     Plaintiff,       ORDER CONTINUING STATUS
13                                                      HEARING FROM OCTOBER 16, 2006
           v.                                           AT 9:30 AM TO NOVEMBER 20, 2006
14                                                      AT 9:30 AM. EXCLUSION OF TIME

15   KY CHAN HAU, SAM WANG                              “AS MODIFIED”
16   CHAO,KIENG
     CHAO  KIENGPHAT
                PHATLIENG
                      LIENG
                                       Defendants
17

18
19                                                      ORDER
20          This matter having come on before me pursuant to the stipulation of the parties
21   (separate document #34) filed on October 13, 2006 and good cause appearing
22   therefore,
23          IT IS ORDERED THAT: the Status Conference Hearing now set for October 16,
24   2006 at 9:30 am is vacated and the matter set for a Status Conference Hearing on,
25   November 20, 2006 at 9:30 am.
26          Further, the Court finds that the defendants' need for additional time to prepare
27   exceeds the public interest in a trial within 70 days, and therefore the interests of justice
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                            Case 2:06-cr-00356-MCE Document 35 Filed 10/17/06 Page 2 of 2


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               2      warrant a further exclusion of time until the hearing on November 20, 2006 and based

               3      upon that finding, the Court excludes time based upon that representation of the parties

               4      from October 16, 2006 pursuant to the Speedy Trial Act, 18 U.S.C. §3161(h)(8)(B)(iv) to

               5      allow sufficient time for counsel to be prepared, [Local Code T4], until the next

               6      appearance, on November 20, 2006 or by further order of this Court.

               7
                             Dated: October 16, 2006
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                                                              /s/ Frank C. Damrell Jr.
             11                                               UNITED STATES DISTRICT COURT JUDGE

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LAW OFFICES OF
CHRISTOPHER H. WING
SACRAMENTO, CA.       ///
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